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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                             WACO DIVISON

JENNILYN SALINAS, LINDSEY               §
NGUYEN, DEANNA LORRAINE, et             §
al.                                     §
                                        §
       Plaintiffs.                      §
                                        §
v.                                      §     CIVIL ACTION NO. 6:21-CV-162
                                        §
NANCY PELOSI, MITCH                     §
McCONNELL, CHUCK SCHUMER,               §
MARK ZUCKERBERG, et al.                 §
                                        §
       Defendants.                      §     JURY TRIAL REQUESTED


NOTICE OF STIPULATION FOR EXTENSION OF TIME TO ANSWER FOR
   DEFENDANTS TOM WOLF AND VERONICA DEGRAFFENREID

      Presently, the Pennsylvania Attorney General’s Office, counsel for Defendants

Tom Wolf and Veronica Degraffenreid, is in the process of preparing the documents

required for admission to the Bar of this Court. This process will not be completed

before Defendants’ first responsive pleading is due on May 24, 2021. In consideration

of the foregoing, the parties hereby stipulate that the time for Defendants Tom Wolf

and Veronica Degraffenreid to file a response to the complaint is extended by 45 days

to July 8, 2021.
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/s/ Paul M. Davis________________         /s/ Michael J. Fischer_____________
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ATTORNEY FOR PLAINTIFFS
                                          ATTORNEY FOR DEFENDANTS TOM
                                          WOLF AND VERONICA
                                          DEGRAFFENFIELD




                           CERTIFICATE OF SERVICE

      I certify that I have served the foregoing notice on all counsel of record who

have made appearances in this action to date via the court’s ECF notification system

and to counsel for Defendants Wolf and Degraffenreid via email on May 24, 2021.

                                      /s/ Paul M. Davis
                                      Paul M. Davis
